          Case 1:06-cv-00170-PKC Document 168 Filed 09/18/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------x
FRANCIS SCOTT HUNT, et al.,

                                 Plaintiffs,                              06-cv-170 (PKC)
                                                                          06-cv-213 (PKC)
                                                                         06-cv-6347 (PKC)

                -against-                                                   ORDER

ENZO BIOCHEM, INC., et. al.,

                                  Defendants.
------------------------------------------------------------x

CASTEL, U.S.D.J.

                The Orders of September 16, 2020 in Nos. 06-cv-170 (Doc. 166), 06-cv-213

(Doc. 117), and 06-cv-6347 (Doc. 82) are VACATED. Enzo Biochem may respond in 14 days.

Movant may reply 7 days thereafter.



                SO ORDERED.

                                                          ________________________________
                                                                    P. Kevin Castel
                                                              United States District Judge
Dated: New York, New York
       September 18, 2020
